Case 2:20-cv-17484-JMV-JBC Document 29 Filed 09/15/22 Page 1 of 1 PageID: 431

                                                                                          Court Plaza North
                                                                                           25 Main Street
                                                                                            P.O. Box 800
                                                                                     Hackensack, NJ 07602-0800
                                                                                  201-489-3000 201-489-1536 fax
                                                                                                  —
                                                                                              New York
                                                                                                  —
 Elizabeth A. Carbone                                                                         Delaware
 Member                                                                                           —
 Admitted in NJ and NY
                                                                                              Maryland
                                                                                                  —
 Reply to New Jersey Office                                                                     Texas
 Writer’s Direct Line: 201.525.6299                                                               —
 Writer’s Direct Fax: 201.678.6299
 Writer’s E-Mail: ecarbone@coleschotz.com                                                      Florida



                                        September 15, 2022
Via CM/ECF Filing
Honorable John Michael Vazquez, U.S.D.J.         Honorable James B. Clark, III, U.S.M.J.
United States District Court for the District of United States District Court for the District of
New Jersey                                       New Jersey
Martin Luther King Building & U.S.               Martin Luther King Building & U.S.
Courthouse, Courtroom PO 03                      Courthouse, Courtroom MLK 2A
50 Walnut Street                                 50 Walnut Street
Newark, New Jersey 07102                         Newark, New Jersey 07102

            Re:          Redi-Data, Inc. v. The Spamhaus Project a/k/a The Spamhaus Project Ltd.,
                         Case No. 2:20-cv-17484-JMV-JBC

Dear Judge Vazquez and Judge Clark:

        This firm represents plaintiff, Redi-Data, Inc. (“Redi-Data”), in the above-referenced
matter. We write to respectfully request a 30 day extension of the jurisdictional discovery end
date (from October 3, 2022 to November 2, 2022). In addition, Redi-Data is also seeking an
adjournment of the September 21, 2022 status letter deadline and the September 27, 2022
telephone status conference to a date convenient for the Court closer to the new jurisdictional
discovery end date. Defendant, The Spamhaus Project (“Defendant”), consents to this request.

        Redi-Data respectfully submits that sufficient good cause exists for the requested
extension and adjournments. Pursuant to the August 2, 2022 Order [Dkt. No. 25], Redi-Data
served written discovery demands that Defendant has responded to. Although the parties timely
began a meet and confer process over certain alleged deficiencies in Defendant’s responses, the
parties have since begun exploring the possibility of settlement.

        Accordingly, to avoid the incurrence of potentially unnecessary costs, and out of respect
for the Court’s time and resources, Redi-Data respectfully requests that the relief sought herein
be granted. As always, the Court’s time and attention to this matter are greatly appreciated.

                                                       Respectfully Submitted,

                                                       COLE SCHOTZ P.C.

                                                       /s/ Elizabeth A. Carbone
                                                       Elizabeth A. Carbone
cc:         All Counsel of Record Via CM/ECF
                                              www.coleschotz.com
28662/0002-43791834v1
